                                              Judge:              Christopher M. Alston
                                              Chapter:            13
                                              Hearing Date:       August 26, 2021
1
                                              Hearing Time:        9:30 am
2                                             Hearing Location:   Telephonic
                                              Response Date:      August 19, 2021
3
                           IN THE UNITED STATES BANKRUPTCY COURT
4                    FOR THE WESTERN DISTRICT OF WASHINGTON AT SEATTLE
5

6
     In Re:                                         IN CHAPTER 13 PROCEEDING
                                                    NO. 18-13998-CMA
7    YUDID HERNANDEZ,
                                                    NOTICE OF TRUSTEE'S MOTION TO
8                                                   DISMISS CASE AND HEARING
9                              Debtor.
10
        PLEASE TAKE NOTICE that the Chapter 13 Trustee's Motion to Dismiss Case IS SET FOR
11

12   HEARING as follows:

13      Judge: Christopher M. Alston
        Place: Conference Call Information
14
               Dial: 1-888-363-4749
15             Enter Access Code: 8955076#
               Press the # sign
16             Enter Security Code when prompted: 3564#
               Speak your name when prompted
17
        Date: August 26, 2021
18      Time: 9:30 am

19      IF YOU OPPOSE this motion, you must file your written response with the Court Clerk NOT
20
     LATER THAN THE RESPONSE DATE, which is August 19, 2021.
21
        IF NO RESPONSE IS TIMELY FILED, the Court may, in its discretion, GRANT THE MOTION
22
     PRIOR TO THE HEARING WITHOUT FURTHER NOTICE, and strike the hearing.
23

24

25      Dated: July 27, 2021                        /s/ Jason Wilson-Aguilar
                                                    Jason Wilson-Aguilar, WSBA #33582
26
                                                    Chapter 13 Trustee
27

28

                                                                                  Jason Wilson-Aguilar
                                                                         Chapter 13 Bankruptcy Trustee
     NOTICE OF TRUSTEE'S MOTION TO                                            600 University St. #1300
     DISMISS CASE AND HEARING                                                        Seattle, WA 98101
                                                                                        (206) 624-5124
         Case 18-13998-CMA     Doc 65    Filed 07/27/21   Ent. 07/27/21 15:50:57          Pg. 1 of 4
                                                  Judge:              Christopher M. Alston
                                                  Chapter:            13
                                                  Hearing Date:       August 26, 2021
1
                                                  Hearing Time:        9:30 am
2                                                 Hearing Location:   Telephonic
                                                  Response Date:      August 19, 2021
3
                           IN THE UNITED STATES BANKRUPTCY COURT
4                    FOR THE WESTERN DISTRICT OF WASHINGTON AT SEATTLE
5

6
     In Re:                                              IN CHAPTER 13 PROCEEDING
                                                         NO. 18-13998-CMA
7    YUDID HERNANDEZ,
                                                         TRUSTEE'S MOTION TO DISMISS CASE
8

9                                Debtor.
10
        Jason Wilson-Aguilar, Chapter 13 Trustee, moves to dismiss this case pursuant to 11 U.S.C.
11

12   § 1307(c):

13      The debtor's plan payment is currently $1,980.00 monthly. The debtor is presently delinquent
14
     $7,408.00.
15
        THE TRUSTEE REQUESTS that the Court dismiss this case.
16
        Dated: July 27, 2021                             /s/ Jason Wilson-Aguilar
17
                                                         Jason Wilson-Aguilar, WSBA #33582
18                                                       Chapter 13 Trustee

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                                                                                      Jason Wilson-Aguilar
                                                                             Chapter 13 Bankruptcy Trustee
     TRUSTEE'S MOTION TO DISMISS CASE                                             600 University St. #1300
                                                                                         Seattle, WA 98101
                                                                                            (206) 624-5124
         Case 18-13998-CMA        Doc 65    Filed 07/27/21    Ent. 07/27/21 15:50:57          Pg. 2 of 4
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10                         IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE WESTERN DISTRICT OF WASHINGTON AT SEATTLE
11

12   In Re:                                                IN CHAPTER 13 PROCEEDING
                                                           NO. 18-13998-CMA
13
     YUDID HERNANDEZ,
14                                                         Proposed
                                                           ORDER DISMISSING CASE
15
                                   Debtor.
16

17      THIS MATTER came before the Court on the Chapter 13 Trustee's Motion to Dismiss Case.
18
     Based on the record and for cause shown, its is
19
        ORDERED that this case is dismissed.
20

21
                                             / / /End of Order/ / /
22

23   Presented By:
     /s/ Jason Wilson-Aguilar
24   Jason Wilson-Aguilar, WSBA #33582
25
     Chapter 13 Trustee

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                                                                                      Jason Wilson-Aguilar
                                                                             Chapter 13 Bankruptcy Trustee
     ORDER DISMISSING CASE                                                        600 University St. #1300
                                                                                         Seattle, WA 98101
                                                                                            (206) 624-5124
         Case 18-13998-CMA         Doc 65    Filed 07/27/21      Ent. 07/27/21 15:50:57    Pg. 3 of 4
                                                    Judge:               Christopher M. Alston
                                                    Chapter:             13
                                                    Hearing Date:        August 26, 2021
1
                                                    Hearing Time:         9:30 am
2                                                   Hearing Location:    Telephonic
                                                    Response Date:       August 19, 2021
3
                           IN THE UNITED STATES BANKRUPTCY COURT
4                    FOR THE WESTERN DISTRICT OF WASHINGTON AT SEATTLE
5

6
     In Re:                                                IN CHAPTER 13 PROCEEDING
                                                           NO. 18-13998-CMA
7    YUDID HERNANDEZ,
                                                           DECLARATION OF MICHELLE BERRY IN
8                                                          SUPPORT OF TRUSTEE'S MOTION TO
                                                           DISMISS CASE
9                                  Debtor.
10
        Michelle Berry declares under penalty of perjury under the laws of the State of Washington that
11

12   this information is true and correct to the best of my knowledge:

13      1) I am employed by Jason Wilson-Aguilar, Chapter 13 Trustee (Trustee), and I have personal
14
     knowledge concerning the information in this declaration and I am competent to testify to this
15
     information.
16
        2) Through my employment I have access to the Trustee’s system and records, including the
17

18   debtor's plan payment records.

19      3) The debtor's plan payment is currently $1,980.00 monthly. The debtor is presently delinquent
20
     $7,408.00.
21
        Dated: July 27, 2021                               /s/ Michelle Berry
22                                                         Michelle Berry, Case Manager for
                                                           Jason Wilson-Aguilar
23
                                                           Chapter 13 Trustee
24

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                                                                                         Jason Wilson-Aguilar
                                                                                Chapter 13 Bankruptcy Trustee
     DECLARATION IN SUPPORT OF                                                       600 University St. #1300
     TRUSTEE'S MOTION TO DISMISS CASE                                                       Seattle, WA 98101
                                                                                               (206) 624-5124
         Case 18-13998-CMA         Doc 65     Filed 07/27/21     Ent. 07/27/21 15:50:57          Pg. 4 of 4
